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EXHIBIT A
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: January 03, 2020
Title: Mathew Rendon v. County of Orange et al.

Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Terry Guerrero N/A
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
Not Present Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING COUNTY DEFENDANTS?
MOTION TO DISMISS (Doc. 42)

Under submission is a Motion to Dismiss Portions of Plaintiff's Second Amended
Complaint (“Motion to Dismiss”) filed by Defendants County of Orange (the “County”),
former Sheriff Sandra Hutchens, and current Sheriff Don Barnes! (collectively, “County
Defendants”). (Mot. to Dismiss, Doc. 42.) Plaintiff opposed. (Opp., Doc. 47.) County
Defendants replied. (Reply, Doc. 48.) For the reasons below, the Court GRANTS
County Defendants’ Motion as to Plaintiffs constitutional claims, which are Plaintiff's
only federal claims against County Defendants, and declines to decide the motion as to
Plaintiff's state-law claims until and unless there is a viable federal claim that remains
pending.

I. BACKGROUND

Plaintiffs First Amended Complaint asserted a number of alleged wrongs suffered
by Plaintiff while in the County’s custody, including multiple batteries; sexual assault;
mail tampering; improper telephonic monitoring; inadequate psychiatric, medical, and
optometric treatment; improper denials of grievances; and interference with religious
practices. (See Order re First MTD at 1-2, Doc. 33; FAC 9] 12-17, Doc. 21.) That

 

' Plaintiff alleges that Sheriff Barnes took office on January 1, 2019, replacing Sheriff
Hutchens. (SAC 4 12, Doc. 35.)

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES ~ GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: January 03, 2020
Title: Mathew Rendon v. County of Orange et al.

pleading brought four causes of action: (1) deprivation of constitutional rights under 42
U.S.C. § 1983; (2) deprivation of rights under California Civil Code § 52.1 (Tom Bane
Civil Rights Act); (3) battery; and (4) negligence. (FAC § 11-34.) All four claims were
brought against all three County Defendants. (/d.) The First Amended Complaint also
indicated that Sheriff Hutchens and Sheriff Barnes were sued in both their individual and
official capacities. (See id at 1.)

On May 23, 2019, the Court dismissed the § 1983 claim against the County,
holding that Plaintiff did not sufficiently plead municipal liability per Monell v. Dep’t of
Soc. Servs. of City of New York, 436 U.S. 658, 690 (1978) because he failed to allege
“facts (1) to establish that any policies or customs exist with respect to any particular
alleged harm, . . . or (2) to show that the particular acts that caused [him] harm are
consistent with such policies or customs.” (Order re First MTD at 3, Doc. 33.) The
Court also dismissed all claims against Sheriff Hutchens and Sheriff Barnes, holding that
“the First Amended Complaint d[id] not sufficiently identify which conduct is
attributable to which Sheriff and in what capacity.” (/d. at 4.) The Court granted
Plaintiff leave to amend on all dismissed claims. (/d. at 5.)

On June 12, 2019, Plaintiff filed his Second Amended Complaint, in which
Plaintiff narrows the scope of his allegations and crystallizes his claims around three
courses of alleged misconduct. (See SAC, Doc. 35.) First, Plaintiff alleges that he was
beaten by deputies, including Deputy Zumar, on seven occasions in 2018 in an
unsurveilled elevator. (See id. {§] 33-35.) Second, Plaintiff alleges that Deputy Franklin
sexually assaulted him under the guise of a “strip search” on February 9, 2019. (See id. J
13.) Third, Plaintiff alleges that his outgoing mail was confiscated in 2018. (See id. J
53.)

The Second Amended Complaint brings nine causes of action: (1) deprivation of
constitutional rights under 42 U.S.C. § 1983, against the County, Sheriff Barnes, and
Deputy Franklin; (2) deprivation of rights under California Civil Code § 52.1 against the
County, Sheriff Barnes, and Deputy Franklin; (3) battery against the County, Sheriff
Barnes, and Deputy Franklin; (4) negligence against all Defendants; (5) deprivation of
constitutional rights under 42 U.S.C. § 1983, against the County, Sheriff Hutchens, and
Deputy I. Zumar; (6) deprivation of rights under California Civil Code § 52.1 against the

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: January 03, 2020
Title: Mathew Rendon v. County of Orange et al.

 

County, Sheriff Hutchens, and Deputy I. Zumar; (7) battery against the County, Sheriff
Hutchens, and Deputy I. Zumar; (8) negligence against Sheriff Hutchens and Deputy I.
Zumar; and (9) “mail” [sic] against the County and Sheriff Hutchens, which appears to be
another § 1983 claim based on mail tampering. (SAC ff 11-53.) The Second Amended
Complaint, too, indicates that all individual Defendants are sued in both their individual
and official capacities. (See id. at 1.)

County Defendants now move to dismiss all claims against them.

I. LEGAL STANDARD

“Federal Rule of Civil Procedure 12(b)(6) allows a court to dismiss a complaint
for ‘failure to state a claim upon which relief can be granted.’ Dismissal of a complaint
can be based on either a lack of a cognizable legal theory or the absence of sufficient
facts alleged under a cognizable legal theory.” Alfred v. Walt Disney Co., 388 F. Supp.
3d 1174, 1180 (C.D. Cal. 2019) (citation omitted) (quoting Fed R. Civ. P. 12(b)(6)).

In deciding a motion to dismiss under Rule 12(b)(6), courts must accept as true all
“well-pleaded factual allegations” in a complaint. Ashcroft v. Iqbal, 556 U.S. 662, 679
(2009). Courts must also draw all reasonable inferences in the light most favorable to the
non-moving party. See Daniels-Hall v. Nat’] Educ. Ass’n, 629 F.3d 992, 998 (9th Cir.
2010). Yet, “courts ‘are not bound to accept as true a legal conclusion couched as a
factual allegation.’” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting
Papasan y. Allain, 478 U.S. 265, 286 (1986)).

“To survive a motion to dismiss, a complaint must contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal,
556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility
when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678
(citing Twombly, 550 U.S. at 556). When “a complaint pleads facts that are merely
consistent with a defendant’s liability, it stops short of the line between possibility and
plausibility of entitlement to relief.” Jgbal, 556 U.S. at 678 (internal quotation marks
omitted).

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

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Accordingly, a complaint must both (1) “contain sufficient allegations of
underlying facts to give fair notice and to enable the opposing party to defend itself
effectively[,]” and (2) “plausibly suggest an entitlement to relief, such that it is not unfair
to require the opposing party to be subjected to the expense of discovery and continued
litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). This first requirement
incorporates Federal Rule of Civil Procedure 8(a)’s pleading standard. See id. at 1212—
16. Indeed, “Rule 12(b)(6) is read in conjunction with Rule 8(a), which requires not only
‘fair notice of the nature of the claim, but also grounds on which the claim rests.’”
Zixiang Li v. Kerry, 710 F.3d 995, 998 (9th Cir. 2013) (quoting Twombly, 550 U.S. at 556
n.3).

Finally, the Court may not dismiss a complaint without leave to amend unless “it
is absolutely clear that the deficiencies of the complaint could not be cured by
amendment.” Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621, 623 (9th Cir.
1988) (internal quotation marks and citations omitted); see also Lopez v. Smith, 203 F.3d
1122, 1130 (9th Cir. 2000) (en banc) (district court should grant leave to amend “unless it
determines that the pleading could not possibly be cured by the allegation of other facts”)
(internal quotation marks and citations omitted).

II. DISCUSSION
A. Municipal Defendant (the County)

Municipal entities are liable for the constitutional torts of their employees under
Section 1983 only when such torts are carried out pursuant to municipal policy, whether
formally promulgated or informally established by widespread custom. See Monell, 436
U.S. at 690-95. Plaintiff generally claims that the allegedly unlawful acts undergirding
his operative Complaint “were caused by and are pursuant to the unlawful policies of the
Orange County Sheriff's Department which were formulated, promulgated, instituted,
implemented, maintained and used by [the County Defendants] and were and are part of
the custom and practice of these defendants and carried out by employees/ agents[.]”
(SAC 4 4, Doc. 35.) He repeats this general allegation once more: “Don Barnes, Sandra

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: January 03, 2020
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Hutchens and her predecessors where [sic] responsible for the development,
establishment, and/or implementation of the procedures, policies, regulations, practices
and/or customs of Orange County Sheriff with respect to its treatment of prisoners.” (/d.
18.)

But, like in his First Amended Complaint, Plaintiff does not allege any additional
facts to establish that any policies or customs exist with respect to any alleged harm.
Indeed, as far as Plaintiff's Monell claims go, Plaintiff's Second Amended Complaint is
identical to his First Amended Complaint. Here, too, then, “Plaintiff's sole, conclusory
allegation of policies or practices that encompass all of Defendants’ alleged conduct is
insufficient to state a claim for municipal liability under § 1983.” (Order re First MTD at
3, Doc. 33.)

Plaintiffs § 1983 claims against the County are therefore dismissed.

B. Sheriff Defendants

To begin, the § 1983 claims against Sheriff Barnes and Sheriff Hutchens in their
official capacities are dismissed as duplicative of Plaintiff's § 1983 claims against the
County. See Kentucky v. Graham, 473 U.S. 159, 165-66 (1985) (“Official-capacity suits
... ‘generally represent only another way of pleading an action against an entity of which
an officer is an agent.’ . . . [T]hus, in an official-capacity suit the entity’s ‘policy or
custom’ must have played a part in the violation of federal law.”) (quoting, then citing
Monell, 436 U.S. at 690 n.55).

“As a general rule, when a pleading fails ‘to allege what role each Defendant
played in the alleged harm,’ this ‘makes it exceedingly difficult, if not impossible, for
individual Defendants to respond to Plaintiffs’ allegations.’” Sebastian Brown Prods.,
LLC v, Muzooka, Inc., 143 F. Supp. 3d 1026, 1037 (N.D. Cal. 2015) (quoting Adobe Sys.
Inc. v. Blue Source Grp., Inc., 125 F. Supp. 3d 945, 964 (N.D. Cal. 2015)). Thus, a
complaint “must identify what action each Defendant took that caused [the plaintiff’ s]
harm, without resort to generalized allegations against Defendants as a whole.” Jn re
iPhone Application Litig., No. 11-MD-02250-LHK, 2011 WL 4403963, at *8 (N.D. Cal.
Sept. 20, 2011).

 

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UNITED STATES DISTRICT COURT
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CIVIL MINUTES — GENERAL

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Plaintiff appears to have heeded the Court’s ruling on his First Amended
Complaint in terms of disaggregating the Sheriff Defendants’ conduct. Plaintiff did so by
breaking up the applicable causes of action into two, one as to Sheriff Hutchens (and
other Defendants), and one as to Sheriff Barnes (and other Defendants). But Plaintiff's
Second Amended Complaint, too, leaves the Court—and, by implication, the County
Defendants—without any factual allegations that support Sheriff Hutchens and/or Sheriff
Barnes’s individual liability under § 1983.

Plaintiff argues again that former Sheriff Hutchens and Sheriff Barnes are liable
for the unlawful acts of their subordinates under a theory of supervisory liability per Starr
v. Baca, 652 F.3d 1202, because former Sheriff Hutchens and Sheriff Barnes knew of and
acquiesced to those acts. (See Opp. at 2-5, Doc. 47; SAC 4 9,, Doc. 35.) “A defendant
may be held liable as a supervisor under § 1983 ‘if there exists either (1) his or her
personal involvement in the constitutional deprivation, or (2) a sufficient causal
connection between the supervisor’s wrongful conduct and the constitutional violation.’”
Starr, 652 F.3d at 1207 (quoting Hansen v. Black, 885 F.2d 642, 646 (9th Cir. 1989)).
Here, Plaintiff attempts to allege supervisory liability of the latter kind. “A supervisor
can be liable in his individual capacity for his own culpable action or inaction in the
training, supervision, or control of his subordinates; for his acquiescence in the
constitutional deprivation; or for conduct that showed a reckless or callous indifference to
the rights of others.” Starr, 652 F.3d at 1208 (quoting Watkins v. City of Oakland, 145
F.3d 1087, 1093 (9th Cir. 1998)). “The requisite causal connection can be established . . .
by setting in motion a series of acts by others, or by knowingly refus[ing] to terminate a
series of acts by others, which [the supervisor] knew or reasonably should have known
would cause others to inflict a constitutional injury[.]” Starr, 652 F.3d at 1207-08
(internal citations and quotation marks omitted).

Here, the entirety of Plaintiffs allegations supporting the Sheriff Defendants’
supervisory liability are as follows: that the Deputy Defendants “act[ed] at all times”
“with the knowledge and consent of the Sheriff and County of Orange”; that at all
relevant times, “Don Barnes and Sandra Hutchens participated in, approved, and/or
ratified the unconstitutional or illegal acts complained of”; that “[the allegedly violent
and problematic] culture in the [Orange County] jail exists, and can only exist with full

 

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knowledge of the [] sheriff and failure to take correction [sic] action”; that “[t]he sheriff
is responsible for the culture in the jail the ACLU having collected and informed the

 

sheriff of the ongoing problem of physical abuse of prisoners by guards”; and that
“Sheriff Don Barnes is aware of the ACLU report and current ACLU investigations into
brutality and sanctioned this conduct ,including [sic] not disciplined [sic] Deputy
Franklin nor any officer for brutality or sexual assault.” (SAC 9 8-9, 15, 25, 31, 37,
Doc. 35.)

In sum, unlike the allegations in Starr, but like those in Igbal, 556 U.S. 662,
Plaintiffs allegations in support of his theory of supervisory liability are conclusory in
nature, which “disentitles them to the presumption of truth” otherwise in place on a
motion to dismiss. See id. at 681. “[C]onclusory allegations that a defendant ‘knew or
should have known’ of [constitutional violations] do not state a claim for relief.”
Lapachet v. Cal. Forensic Med. Grp., Inc., 313 F. Supp. 3d 1183, 1194 (E.D. Cal. 2018)
(citing Farmer v. Brennan, 511 U.S. 825, 837 (1994)). Nor are Plaintiff's conclusory
allegations saved by an oblique reference to an ACLU “report” or “investigations.”

Accordingly, Plaintiff's federal claims against former Sheriff Hutchens and Sheriff
Barnes are dismissed.

C. Deputy Defendants

The Motion to Dismiss does not seek dismissal of any claims against Deputy
Franklin or Deputy I. Zumar. The Court therefore makes no ruling as to the substance of
Plaintiff's claims against the Deputy Defendants.

D. Leave to Amend

The Court has before it Plaintiff's proposed Third Amended Complaint
(“Proposed TAC”), which Plaintiff attached to his Opposition in redline form (Proposed
TAC, Doc. 47-1). Because Plaintiff's edits are very minimal—indeed, they are mostly
cosmetic—the Court finds that Plaintiff's Proposed Third Amended Complaint, like his
First Amended and Second Amended Complaints, does not pass muster, at least with

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

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respect to Plaintiff's federal claims against County Defendants. In other words, by
proposing a deficient Third Amended Complaint, Plaintiff has made clear “that the
deficiencies of the [SAC discussed herein] could not be cured by amendment{[,]” Karim-
Panahi, 839 F.2d at 623 (9th Cir. 1988) (internal quotation marks and citations omitted).

The Court therefore denies Plaintiff leave to amend his federal claims against
County Defendants. Cf Destfino v. Reiswig, 630 F.3d 952, 959 (9th Cir. 2011) (Here,
the district court gave plaintiffs several chances to amend, with detailed instructions as to
what they needed to do to fix the problems with their complaint. Plaintiffs failed to
comply with these orders and it was therefore proper for the court to dismiss their entire
complaint without further leave to amend.”).

IV. CONCLUSION

The Court does not currently have before it an operative complaint with viable
federal claims. Additionally, the County has filed with the Court a Motion to Quash
Service of Summonses, Dismiss for Insufficient Service of Process, and Strike Proofs of
Service (“Motion to Quash”) as to the remaining Defendants, Deputy Franklin and
Deputy I. Zumar. (Mot. to Quash, Doc. 56.) Resolution of the Motion is still pending.

Accordingly, while the Court DISMISSES WITH PREJUDICE Plaintiff's federal
claims against County Defendants, the Court declines to decide the motion to dismiss as
to Plaintiff's state-law claims until a viable federal claim is before it.

Initials of Deputy Clerk: tg

 

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EXHIBIT B
Case 8:21-cv-00190-JLS-KES Document 1-1 Filed 01/27/21 Page 11o0f19 Page ID #:20

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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL
Case No. 8:18-cv-01835-JLS-KES Date: March 31, 2020

Title: Mathew Rendon v. County of Orange et al.
Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Terry Guerrero N/A
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
Not Present Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING DEFENDANT COUNTY
OF ORANGE’S MOTION TO QUASH SERVICE OF SUMMONSES
AND DISMISS PURSUANT TO FRCP 12(b)(5) FOR
INSUFFICIENT SERVICE OF PROCESS (Doc. 56)

Before the Court is a Motion to Quash Service of Summonses, Dismiss for
Insufficient Service of Process, and Strike Proofs of Service (“Motion to Quash’”) filed by
Defendant County of Orange (the “County”). (Mot., Doc. 56.) Plaintiff opposed. (Opp.,
Doc. 60.) The County did not reply.!

For the reasons set forth below, the Court GRANTS the Motion to Quash,
dismissing this action as to Deputy Franklin and Deputy I. Zumar (collectively, “Deputy
Defendants’) without prejudice and striking Plaintiff's proofs of service as to them.

I. BACKGROUND

The operative, Second Amended Complaint (“SAC”) names a number of
Defendants: the County, former Sheriff Sandra Hutchens, current Sheriff Don Barnes,
and the two Deputy Defendants—Deputy Franklin and Deputy I. Zumar. On January 3,
2020, the Court dismissed the SAC as to the County, former Sheriff Hutchens, and
Sheriff Barnes (collectively, “County Defendants’). (See Doc. 71.) More specifically,
the Court dismissed with prejudice Plaintiffs federal claims against the County

 

' On March 27, 2020, Plaintiff filed a supplement to his Opposition. (Doc. 76.) Because
Plaintiff did so without leave of Court, the Court does not consider his supplemental filing.

 

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UNITED STATES DISTRICT COURT
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Defendants, declining “to decide the motion to dismiss as to Plaintiff's state-law claims
until a viable federal claim [wa]s before it.” (d.) The Deputy Defendants remain.

Under County policies and procedures, the County does not accept service for
either (a) “a vaguely identified purported County employee” where “vague identification
of a County employee includes[,] without limitation|,] specification of a purported
County employee by surname only in an instance when the County employs multiple
individuals with the surname in question”; or (b) “a purported County employee who the
County cannot verify is an individual currently employed by the County.” (Knapp Decl.
4] 13, Doc. 56-2.) The County does not cite any policy or procedure from which this
language was borrowed. (See id.)

On July 15, 2019, Plaintiff attempted service on the Deputy Defendants at the
offices of the Financial/Administrative Services Division of the Orange County Sheriff's
Department (“OCSD”). (See Kotkin Decl. § 3, Doc. 56-1.) An OCSD Staff Assistant
authorized to accept service on behalf of County employees who work for OCSD,
Vanessa B. Reid-Mena, rejected the service attempt for both Deputy Defendants: for
Franklin because, as of July 15, 2019, OCSD had four employees with that same last
name; and for Zumar because Reid-Mena determined that an OCSD employee with the
name I. Zumar did not exist. (See Reid-Mena Decl. II {J 3, 8-9, Doc. 58.) In fact, the
County has never employed an OCSD deputy sheriff by the name of I. Zumar. (See
Reid-Mena Dec. I 7, Doc. 47.) In accordance with County and OCSD procedures,
Reid-Mena “initiated a communication to ensure that information about [her] refusal to
accept service of process .. . would reach the Office of County Counsel.” (Reid-Mena
Decl. IT ¥ 11.)

On September 25, 2019, when over 90 days had passed since the filing of the
SAC, the Court issued an order for Plaintiff to show cause why the claims against the
Deputy Defendants should not be dismissed for lack of service pursuant to Rule 4(m) of
the Federal Rules of Civil Procedure. (OSC, Doc. 50.) According to proofs of service
filed by Plaintiff on September 30, 2019, Plaintiff served both Defendants on September
27, 2019 at 333 W. Santa Ana Blvd. #465, Santa Ana, CA 92701, which, per the
County’s Motion to Quash, is the location of the office of the County’s Clerk of the
Board of Supervisors. (See Proofs of Service, Docs. 54-55; Mot. at 2.)

 

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UNITED STATES DISTRICT COURT
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On October 18, 2019, the County moved to quash service, dismiss the SAC for
insufficient service of process, and strike the proofs of service as to the Deputy
Defendants on the grounds that Plaintiff's September 27, 2019 service was “improper”
and “‘ineffective”’—even fraudulent. (See Mot. at 3-4, 12-13.) The Court heard oral
argument on the Motion on December 13, 2019. At the hearing, Plaintiff argued that a
discovery dispute existed as to a video allegedly in the County’s possession that may
reveal at least Deputy Franklin’s full name. Plaintiff filed a motion to compel discovery
of that video on December 11, 2019. (See Doc. 62.) On December 30, 2019, the
Magistrate Judge denied Plaintiff's motion to compel “without prejudice to refiling
following full compliance with Local Rules 37-1 and 37-2.” (Doc. 69 at 3.)
Accordingly, on January 2, 2020, the Court ordered the parties to apprise the Court of the
status of the discovery dispute within fourteen days, declining to rule on the Motion to
Quash while the discovery dispute was ongoing. (See Doc. 70.)

The parties timely complied, advising the Court that they were in the process of
finalizing a joint stipulation regarding a renewed motion to compel by Plaintiff. (See
Doc. 72 at 3.) The parties filed their joint stipulation on March 16, 2020. (See Doc. 73.)
On March 20, 2020, the Magistrate Judge denied Plaintiff's Motion to Compel (Doc. 74),
ending the discovery dispute that held the Court back from ruling on the Motion to
Quash.

II. LEGAL STANDARD

Under Rule 12 of the Federal Rules of Civil Procedure, a defendant may move to
dismiss an action for insufficient service of process.” See Fed R. Civ. P. 12(b)(5). “Once

 

* Normally, “the person served with process is the proper party to allege error.” United
States v. Viltrakis, 108 F.3d 1159, 1161 (9th Cir. 1997). Here, the County, a third party (at least
with respect to claims against the Deputy Defendants in their individual capacities), challenges
the service on Deputy Franklin and Deputy I. Zumar, creating a standing issue.

The Court finds this third-party challenge appropriate. “Although in certain
circumstances a party who satisfies the strictures of Article III . . . will be able to litigate the
rights of a third party with respect to that case, under prudential standing guidelines such third
party standing is permissible only where there [exists] some hindrance to the third party’s ability

 

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UNITED STATES DISTRICT COURT
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service is challenged, plaintiffs bear the burden of establishing that service was valid
under Rule 4.” Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004). Where a plaintiff
is unable to satisfy her burden, “the district court has discretion to dismiss an action or to
quash service.” S.J. v. Issaquah Sch. Dist. No. 411, 470 F.3d 1288, 1293 (9th Cir. 2006).
“If effective service can be made and there has been no prejudice to the defendant, a
court will generally quash service rather than dismiss the action.” Procopio v. Conrad
Prebys Tr., No. 14CV1651 AJB KSC, 2015 WL 4662407, at *4 (S.D. Cal. Aug. 6, 2015).
Under Rule 12(f) of the Federal Rules of Civil Procedure, the Court may, on its own or

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“on motion made by a party [] before responding to the pleading[,]” “strike from a
pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

matter.” Fed R. Civ. P. 12(f)(1)-(2).

II. DISCUSSION

“Generally, a plaintiff can meet its burden of establishing the validity of service by
providing the process server’s return because ‘the process server’s return will provide a
prima facie case as to the facts of service.’” Cheng v. AIM Sports, Inc., No. CV 10-3814
PSG PLAX, 2011 WL 320993, at *2 (C.D. Cal. Jan. 26, 2011). “In fact, a signed return
of service ‘can be overcome only by strong and convincing evidence’ put forth by the
complaining party.” /d. (citing S.E.C. v. Internet Sols. for Bus., Inc., 509 F.3d 1161, 1166
(9th Cir. 2007); then citing Hong—Ming Lu v. Primax Wheel Corp., No. CV 04-4170,
2005 WL 807048, at *4 (N.D. Cal. Apr. 7, 2005)).

 

to protect his or her own interests.” Ribbens Int’l, SA. de C.V. v. Transp. Int’l Pool, Inc., 45 F.
Supp. 2d 982, 984 (C.D. Cal. 1999) (quoting Wedges/Ledges of California, Inc. v. City of
Phoenix, 24 F.3d 56, 62 (9th Cir.1994)). Here, as the Court discusses further below, the
County’s declarations persuade the Court that Deputy Defendants Franklin and J. Zumar do not
exist or are indeterminable as named. Therefore, Deputy Defendants cannot themselves
challenge Plaintiff's service. Moreover, Plaintiff has sued the Deputy Defendants in both their
official and individual capacities, rendering the County a sufficiently interested party. Finally,
the Court has independently inquired as to the status of service on the Deputy Defendants by
issuing the Order to Show Cause re: Service on Deputy Defendants on September 25, 2019. (See
Doc. 50). In bringing this Motion, therefore, the County is effectively arguing that the Court
should not discharge that Order to Show Cause.

 

CIVIL MINUTES — GENERAL 4
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: March 31, 2020
Title: Mathew Rendon v. County of Orange et al.

 

Here, Plaintiff submitted proofs of service as to both Deputy Franklin and Deputy
I. Zumar. (Proofs of Service, Docs. 54-55.) The County argues that the proofs of service
are “patently false” because Plaintiff filed them with the Court despite being on notice
that four deputies employed by OCSD have the last name Franklin and no OCSD
employee has the name “I. Zumar.” (See Mot. at 12-13; see also Reid-Mena Decl. II 4
8—9, Doc. 58.)

Plaintiff must “establish[] valid service of process on the defendant Deputies in
their individual capacities,” because his claims against Deputy Defendants “in their
official capacities are equivalent to a claim against the County.” Taylor v. San
Bernardino Cty. Sheriffs, No. EDCV 09-404-MMM MAN, 2009 WL 3365935, at *3
(C.D. Cal. Oct. 19, 2009). Under Rule 4(e) of the Federal Rules of Civil Procedure, an
individual may be served by “doing any of the following: (A) delivering a copy of the
summons and of the complaint to the individual personally; (B) leaving a copy of each at
the individual’s dwelling or usual place of abode with someone of suitable age and
discretion . . .; or (C) delivering a copy of each to an agent authorized . . . to receive
service of process.” Fed. R. Civ. P. 4(e). Rule 4(e) also permits service pursuant to
“state law for serving a summons in an action brought in courts of general jurisdiction in
the state where the district court is located or where service is made[.]” Jd. In California,
“[i]f a copy of the summons and complaint cannot with reasonable diligence be
personally delivered to the person to be served, . . . a summons may be served by leaving
a copy of the summons and complaint at the person’s . . . usual place of business” with “a
person apparently in charge of his or her office, [or] place of business[.]” Cal. Civ. Proc.
Code § 415.20.

Viewed charitably, Plaintiffs attempt to serve Deputy Defendants at the office of
the County’s Clerk of the Board of Supervisors would appear to be a reasonable attempt
to deliver a copy of the summons and the complaint in compliance with Section 415.20.
Yet, Plaintiff made this second service attempt after being told that his first service
attempt was deficient, not because he attempted to effect service at the wrong office, but
because the Deputy Defendants he attempted to serve either do not exist or are
indeterminable as named. In fact, Plaintiff appears to have done very little between his
first and second service attempts to discover Deputy Defendants’ full or real names.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:18-cv-01835-JLS-KES Date: March 31, 2020
Title: Mathew Rendon v. County of Orange et al.

 

(See, e.g., Kotkin Decl. § 17, Doc. 56-1 (‘Since the County rejected Plaintiff's service of
process on July 15, 2019, Plaintiff has not served the County with any interrogatories
related to a potential effort by Plaintiff to correctly identify” the Deputy Defendants.).)
The Court finds the County has produced “strong and convincing” evidence that
Plaintiff did not properly identify Deputy Defendants for purposes of service sufficient to
overcome the signed proofs of service Plaintiff filed. See Cheng, 2011 WL 320993, at
*2. Because Plaintiff still cannot identify the individual defendants, effective service
cannot be made. Further, more than nine months have passed since Plaintiff filed his
SAC and six months since the Court issued its OSC re service. The Court has given
Plaintiff more than ample time to use alternate means (such as interrogatories) to discover
the identities of the Deputy Defendants, and despite the Court’s suggestion that he use
such means, Plaintiff has failed to do so. Accordingly, the Court concludes that there
exists no “reasonable prospect that service may yet be obtained” and exercises its broad
discretion to dismiss the SAC as to the Deputy Defendants. Cf Moletech Glob. Hong
Kong Ltd. v. Pojery Trading Co., No. C 09-00027 SBA, 2009 WL 506873, at *3 (N.D.
Cal. Feb. 27, 2009) (internal quotation marks omitted). The Court also strikes the proofs
of service Plaintiff filed as to Deputy Defendants.

IV. CONCLUSION

For the foregoing reasons, the Court DISMISSES Plaintiffs claims against
Deputy Defendants WITHOUT PREJUDICE. The Court also STRIKES Plaintiff’ s
proofs of service as to Deputy Defendants (Docs. 54-55).

The Court previously dismissed Plaintiff's federal claims against County
Defendants and declined to rule on any state-law claims until a viable federal claim was
before it. Having now dismissed all pending federal claims in this action, the Court
declines to exercise supplemental jurisdiction over any remaining state-law claims
against County Defendants. The SAC is therefore dismissed in its entirety.

Initials of Preparer: tg

 

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EXHIBIT C
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MATHEW RENDON, individually,
Plaintiff,

VS.

COUNTY OF ORANGE, a
Governmental Entity; SANDRA
HUTCHENS, RTE County Sheriff,
Individually; DON BARNES. Orange
County Sheriff, oe Deputy
FRANKLIN, Individually; Deputy I.
ZUMAR, Individually; and in their

official capacity and DOES
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ee

Defendants.

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NO. 8:18-cv-01835-JLS-KES
Assigned to: Hon. Josephine L. Staton

JUDGMENT

 

 

 
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JUDGMENT

On January 3, 2020 Order the Court granted the Motion to Dismiss of
Defendants County of Orange, Sheriff Don Barnes, and former Sheriff Sandra
Hutchens (“the County Defendants”), dismissing all federal claims with prejudice.
(See Doc. No. 71.) All remaining claims have been dismissed without prejudice.

The County Defendants may seek from Plaintiff Mathew Rendon costs of suit
pursuant to a bill of costs filed in accordance with 28 U.S.C. § 1920 and Local Rule
54.

DATED: April 07, 2020

HON. JOSEPHINE L. STA
United States District Judge

 

 

 
